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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
              v.                               :   Criminal Case No. 21-582 (CRC)
                                               :
MICHAEL A. SUSSMANN,                           :
                                               :
                       Defendant.              :


               GOVERNMENT’S RESPONSE TO DEFENDANT’S
       MOTION TO SET A TRIAL DATE AND ENTER A SCHEDULING ORDER

       1.       The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully submits this Response to the defendant’s December 6, 2021 Motion to Set a

Trial Date and Enter a Scheduling Order. The Government shares the defendant’s desire to conduct

as speedy a trial as possible in this case, which involves complex discovery and occurs in the midst

of an international pandemic. The Government submits, however, that a trial date in late July 2022

is reasonable and necessary for the Government to fully declassify and produce discovery, for the

parties to draft and file appropriate motions (including motions under the Classified Information

Procedures Act), and for the Court to adjudicate those motions. The defendant’s request for a May

2, 2022 trial date would rush and unnecessarily truncate these events, make it exceedingly difficult

for the Government to fully met its discovery obligations, and thereby prejudice the defendant, the

Government, and the interests of justice.

       2.       First, the defendant’s reference to the recent scheduling of an April 2022 trial date

in another case in a separate district involving entirely different facts is of little moment. (Mot. at

2-2). The Government has proposed a trial date here based on a careful evaluation of factors


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relevant to this case, including current COVID-19 protocols, the volume of discovery, the quantity

and complexity of the numerous broad discovery requests recently made by the defense, the pace

of declassification thus far, the need to coordinate with multiple national security agencies on

classified matters, and the Government’s intent to file a CIPA Section 4 motion.

       3.       Second, the defendant’s assertion that a May 2, 2022 trial is necessary because the

Government has belatedly disclosed Brady evidence is meritless. (Mot. at 2-4). As an initial matter,

the defendant’s motion provides a skewed portrayal of the purported Brady evidence at issue by

cherry-picking excerpts from the substantial discovery the Government has already provided to the

defense.     The defendant, for example, alleges that FBI General Counsel James Baker

“contradict[ed] the Special Counsel’s allegation that Mr. Sussmann affirmatively [said] he was not

meeting with him on behalf of any clients” in (i) a 2019 interview with the U.S. Department of

Justice’s Office of Inspector General, and (ii) a 2020 interview with the Special Counsel team.

(Mot. at 3). But as the defendant is aware from discovery, both of those interviews occurred years

after the events in question, and Mr. Baker made these statements before he had the opportunity to

refresh his recollection with contemporaneous or near-contemporaneous notes that have been

provided to the defense in discovery.      Indeed, the defendant’s motion entirely ignores law

enforcement reports of Mr. Baker’s subsequent three interviews with the Special Counsel’s Office

in which he affirmed and then re-affirmed his now-clear recollection of the defendant’s false

statement. Nor does the defendant’s motion disclose that the Government recently produced to the

defendant a copy of notes that another high-ranking official in the FBI Office of General Counsel

(“OGC”) took during a meeting with Mr. Baker and others on the same day as Mr. Baker’s meeting

with the defendant. Those notes, like the notes cited in the Indictment taken by an FBI Assistant


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Director, reflect that the defendant told Baker he had “no specific client.” Finally, the defendant’s

motion also ignores the Government’s production of a memorandum that two employees of another

agency (referred to in the Indictment as “Agency-2”) drafted after their February 9, 2017 meeting

with the defendant on a matter related to the allegations the defendant brought to the FBI. That

memorandum similarly reflects that the defendant told these employees that he was not representing

“a particular client.” In sum, discovery produced to date reflects that the recollections and/or

contemporaneous records of five separate government employees support the Indictment’s

allegations. Accordingly, Mr. Baker’s initial, un-refreshed recollections hardly constitute the type

of Brady evidence that would warrant the Court’s rushing to trial in this matter.

       4.       Finally, the Government notes that even under the defendant’s own proposed

schedule, the Government would be not be required to complete the production of all classified and

unclassified Brady evidence until the end of January 2022. (Mot. Ex. A). The Government is

working expeditiously to satisfy its discovery obligations and intends to produce all evidence of

which it is aware that constitutes Brady material sufficiently in advance of any trial so that the

defense can make full use of those materials in preparing its case. Indeed, the Government has

produced to date more than 91,000 pages in unclassified discovery and more than 5,000 pages in

classified discovery. These materials have included an entire FBI case file with relatively minor

redactions, more than 60 reports of interview containing Jencks Act materials (including

investigator notes and documentary exhibits), three grand jury transcripts, and other documents.

The Government also expects to produce a substantial quantity of additional discovery materials

from multiple agencies. Moreover, the defendant has made several broad discovery requests that

the Government is attempting to address in cooperation with the defense, which will require the


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Government to search for, retrieve, and review potentially responsive data from numerous systems

– both classified and unclassified. It is precisely because the Government seeks to comply fully

with its discovery obligations and aid the defense in preparing adequately for trial that the

Government believes a modestly later trial date is appropriate in this case.

        5.       In light of the foregoing, the Government respectfully submits that setting a July 25,

2022 trial date more reasonably balances the interests of the public and the defendant in a speedy

trial against the complexity of the discovery in this case – including serious national security

equities – and the complications caused by the ongoing COVID-19 pandemic.

                                           CONCLUSION

        6.       For the foregoing reasons, the Government respectfully requests that the Court set a

July 25, 2021 trial date in this matter.


                                               Respectfully submitted,

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